UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
UNITED STATES OF AMERICA )
)
) No. 3:11-00020
V. ) IUDGE HAYNES
)
AUST[N MICHAEL EVANS )

PRGPSY§RGREED oRDER
(./

By agreement of the parties as evidenced by the Signatures below, the parties respectfully
request that the hearing regarding the defendant’s conditions of supervised release be continued for
sixty days to Friday, May 6, 2016. The parties further request that if the defendant complies With
the conditions of the halfway house until May 6, 2016, the defendant Will not be required to reside
at the halfway house after that date as part of his conditions of supervised release.

lt is so ORDERED

Enter this M<:yof March, 2()l6.

WILLIAM J. HAYNE&§ . "’
UNITED STATES DISTRICT JUDGE

 

APPROVED FOR ENTRY:

s/Phl'lip H. Wehby

 

PHILIP H. WEHBY
Assistant United States Attorney

s/Peter Strianse

 

PETER STRIANSE _
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